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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


  In re Banc of California Securities                Case No. 18-mc-0076 (WMW/KMM)
  Litigation


                                                 ORDER ADOPTING REPORT AND
                                                     RECOMMENDATION




        This matter is before the Court on the December 13, 2018 Report and

 Recommendation (R&R) of United States Magistrate Judge Katherine M. Menendez. (Dkt.

 37.) Objections have not been filed in the time period permitted. In the absence of timely

 objections, this Court reviews an R&R for clear error. See Fed. R. Civ. P. 72(b); Grinder

 v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam). Having reviewed the R&R,

 the Court finds no clear error.

        Based on the R&R and all the files, records and proceedings herein, IT IS HEREBY

 ORDERED that the December 13, 2018 R&R, (Dkt. 37), is ADOPTED and this case is

 TRANSFERRED to the United States District Court for the Central District of California.



 Dated: February 7, 2019                                s/Wilhelmina M. Wright
                                                        Wilhelmina M. Wright
                                                        United States District Judge
